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                               INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: The Cincinnati Insurance Companies

                       Recoverable Signature



                   X
                   Jay O'Hara
                   Asst Secretary / Manager
By:                Signed by: jay_ohara@cinfin.com


Name:

Title:




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Release.



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California Insurance Guarantee Association.




                   CNA and its entities: American Casualty Company, Continental Casualty Company,
Insurer            Continental Insurance Company, National Fire Insurance Company of Hartford,
                   Transportation Insurance Company, and Valley Forge Insurance Company


By:

Name:

Title:                    SVP Claim




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Release.



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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Insurer Name: Crestmont Insurance Company

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Release.



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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Sompo International

Insurer Names: Endurance American Specialty Insurance Company
               Endurance Specialty Insurance Company


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Release.



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                                INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Everest

Insurer Names: Everest Indemnity Insurance Company
               Everest National Insurance Company

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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California Insurance Guarantee Association.




Insurer
                           Everest National Insurance Company
Insurer Name:

By:

Name:                                  Takiea Mance

Title:                               Claims Examiner II




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Insurer

Insurer Name: Farmers Insurance *



By:

Name:            Jonathan Hart

Title:           Director of Subrogation
* 21st Century Insurance Company, COAST NATIONAL INSURANCE COMPANY, Farmers Insurance Company of Idaho,
Farmers Insurance Company of Oregon, Farmers Insurance Exchange, FARMERS SPECIALTY INSURANCE COMPANY,
Fire Insurance Exchange, FOREMOST INSURANCE COMPANY GRAND RAPIDS, MICHIGAN, FOREMOST PROPERTY
AND CASUALTY INSURANCE COMPANY, FOREMOST SIGNATURE INSURANCE COMPANY, Illinois Farmers
Insurance Company, Insurance Underwriting Company, Mid-Century Insurance Company, and Truck Insurance Exchange

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Release.



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as used in the Mutual Made Whole Release shall include (without limitation) the California
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Insurer

Insurer Name: Generali US Branch

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Release.



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Insurance Guarantee Association.




Insurer

Insurer Name:            GRANGE INSURANCE ASSOCIATION

By:                      /s/ Brandon Mathias (electronic signature provided due to present lack of printer or scanner)

Name:                    Brandon Mathias

Title:                   Claims Manager




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as used in the Mutual Made Whole Release shall include (without limitation) the California
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Insurer

Insurer Name: Great Lakes Reinsurance (SE)



By:

Name:            Steven Soltman

Title:           Its Attorney and Authorized Representative




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Insurance Guarantee Association.

Insurer

Carrier Group: HDI Global

Insurer Names: HDI Global SE
               HDI Global Insurance Company
               International Insurance Company of Hannover SE

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Ironshore

Insurer Names: Ironshore Insurance, Ltd.
               Ironshore Specialty Insurance Company

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: RSUI Group

Insurer Names: Landmark American Insurance Company
               RSUI Indemnity Company


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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